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  IT IS ORDERED as set forth below:



  Date: January 9, 2019
                                                _____________________________________
                                                            James R. Sacca
                                                      U.S. Bankruptcy Court Judge

  _______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                           :      CHAPTER 7
                                                 :
KRISTIE JACKSON STARGELL,                        :      CASE NO. 17-50323-JRS
                                                 :
         Debtor.                                 :
                                                 :

 ORDER APPROVING SETTLEMENT WITH DEBTOR UNDER RULE 9019 OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On December 5, 2018, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Kristie Jackson Stargell (“Debtor”), filed a

Motion for Order Authorizing Compromise and Settlement with Debtor under Rule 9019 of the

Federal Rules of Bankruptcy Procedure [Doc. No. 80] (the “Motion”), seeking an order

approving a settlement agreement (the “Settlement Agreement”) between Trustee and Debtor,




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wherein, inter alia,1 Debtor shall pay $25,000.00 (the “$25,000.00 Settlement Funds”) in good

funds to Trustee for the interest of the Bankruptcy Estate (the “Interest”) in that certain real

property with a common address of 217 Saint Martins Lane, SE, Mableton, GA 30126 (the

“Property”). In return, the Interest of the Bankruptcy Estate in the Property shall be deemed

abandoned upon the later of: (1) Trustee’s receipt in full of the $25,000.00 Settlement Funds

from Debtor in good funds; and (2) this Settlement Approval Order becoming final.2 The

complete terms of the Settlement Agreement are set forth in Exhibit “A” to the Motion.

        On December 6, 2018, Trustee filed a notice of hearing [Doc. No. 81] (the “Notice”)

setting a hearing on the Motion for January 8, 2019 (the “Hearing”). Counsel for Trustee

certifies that he served the Notice on all requisite parties in interest. [Doc. No. 83].

        No party in interest filed or served an objection to the relief requested in the Motion.

Counsel for Trustee appeared at the calendar call for the Hearing. No parties in interest appeared

to oppose the relief requested in the Motion.

        The Court having considered the Motion, and for good cause shown, it is hereby

        ORDERED that the Motion is GRANTED: the Settlement Agreement is approved and

its terms are incorporated herein. It is further

        ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement. It is further




1
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
2
      Capitalized terms not defined herein shall have the meanings ascribed to them in the
Motion.


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        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce

this Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii)

enter such other and further orders as may be necessary, just, or proper as an aid to enforcement

or implementation of this Order.

                                      [END OF DOCUMENT]


Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of parties to be served:

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